       Case 7:20-cv-05677-NSR-JCM Document 24 Filed 06/15/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------X
SUHALI GARCIA,

                                   Plaintiff,                           20 CIVIL 5677 (NSR) (JCM)

                 -v-                                                         JUDGMENT
ANDREW M. SAUL,
Commissioner of Social Security,

                                    Defendant.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Stipulation and Order dated June 15, 2021, that the decision of the

Commissioner of Social Security be, and hereby is, reversed and that this action be, and hereby is,

remanded to the Commissioner of Social Security, pursuant to sentence four of 42 U.S.C. § 405(g),

for further administrative proceedings.


Dated: New York, New York
       June 15, 2021


                                                                        RUBY J. KRAJICK
                                                                     _________________________
                                                                           Clerk of Court
                                                               BY:
                                                                     _________________________
                                                                           Deputy Clerk
